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                                UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF NEW YORK

JOHN M. DOMURAD                                                                 James T. Foley U.S. Courthouse
Clerk                                                                           445 Broadway, Room 509
                                                                                Albany NY 12207-2936
DANIEL R. MCALLISTER                                                            (518) 257-1800
Chief Deputy

                                                   03/26/2021

        D. Maimon Kirschenbaum, Esq.
        JOSEPH & KIRSCHENBAUM LLP
        32 Broadway, Suite 601
        New York, NY 10004

        RE: Cynthia Defren vs. The United Group of Companies, Inc.
        NYND CASE NO. 1:21-CV-349 (GTS/DJS)

        Dear Sir or Madam:

        Please be advised that the above case was filed in the Northern District of New York. You are
        directed to advise this Court in writing, within fourteen (14) days from the date of this Notice,
        if you will remain as counsel of record, and if so, your formal admission is required.

        As of January 16, 2018, the Northern District of New York became a NextGen Court. This
        means all attorneys MUST have an individual PACER account, and request admission via
        PACER. If you will be seeking Permanent Admission, instructions can be found on our website
        at: http://www.nynd.uscourts.gov/sites/nynd/files/Permanent_Admission_Instructions.pdf. If you
        will be seeking Pro Hac Vice Admission, instructions can be found by using the following link:
        http://www.nynd.uscourts.gov/sites/nynd/files/PHV_Admission_Instructions.pdf. Otherwise, new
        counsel should file a notice of appearance as soon as possible.

        The parties are advised that all future filings and inquiries should be made in accordance with the
        Local Rules of this Court, and that all documents filed with the Court shall contain the case
        number listed above.

                                                         Very Truly Yours,




                                                         By: s/ Max A. Prebit, Case Processing Specialist
        Encs.
        cc: Denise A. Schulman, Esq. (via CM/ECF)
            NDNY File
